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                                   STATEMENT OF FACTS

        Your affiant, Mark McNeal, is a Special Agent with the Federal Bureau of Investigation
(FBI) assigned to the Martinsburg, West Virginia, Resident Agency, Pittsburgh Field Office.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As an FBI Special Agent, I am authorized by law to engage in the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                             Conduct of JOHN THOMAS GORDON
                                  Identification of GORDON

        The FBI Washington Field Office published multiple photographs on the FBI website
(ww.fbi.gov) of participants in the riot at the U.S. Capitol Building on January 6, 2021, seeking to
identify those pictured. Each individual pictured was assigned a number to aid in identification, to
include Photograph #218 - AFO (Exhibit 1).

                                             Exhibit 1




        On or about February 15, 2021, open-source searches were conducted on AFO-218.
Images posted on the Facebook and Instagram page of 794 Social Club located at 1 South Main
Street, Petersburg, West Virginia (WV), showed an individual, resembling AFO-218, receiving
head tattoos which appeared to match the head tattoos on AFO-218. Photographs from the open-
source search are provided below as Exhibit 2.

                                            Exhibit 2
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       On March 3, 2021, a tipster (TIPSTER 1) contacted the FBI (NTOC) to report “Johnny
Gordon,” residential address Lynwood Apartments, Davis, WV, as being the individual in FBI
Most Wanted photograph AFO-218. FBI database queries revealed that an individual by the name
of JOHN THOMAS GORDON (GORDON) residing at Lynwood Apartments in Davis, West
Virginia.

        On March 25, 2021, a criminal history search for GORDON revealed that GORDON had
several prior felony convictions in Pennsylvania and West Virginia for drug and firearms offenses.

        In March 2021, Tucker County (WV) Sheriff Jacob Kopec went to the Lynwood
Apartments in Davis, West Virginia, where he made contact with GORDON. Kopec visually
confirmed GORDON was APO-218, and Kopec initiated a voluntary interview. During the
interview, GORDON provided identifying information and admitted that he was at the U.S.
Capitol on January 6, 2021.

        On August 24, 2021, a FBI Special Agent interviewed an individual with the initials A.A.,
who had a romantic relationship with GORDON, but who had terminated the relationship and was
now involved in a child custody dispute. During the interview, A.A. advised that GORDON was
the individual pictured in the FBI Most Wanted photograph AFO-218. GORDON had told A.A.
that he kicked the doors to the U.S. Capitol, to make entry, but he was not able to make entry due
to the doors were barred/barricaded. A.A. stated that GORDON also threw what A.A. described
as a weighted ball (globe)/yard decoration at windows. A.A. stated that GORDON returned from
Washington, D.C. with a trash bag full of his clothing, which was covered in pepper spray. In a
subsequent interview, A.A. stated that A.A. had seen a video of GORDON on top of some
scaffolding at the U.S. Capitol on January 06, 2021.

                                         Video Evidence

        On August 25, 2021, an open-source search of AFO-218 resulted in Internet videos
showing a man, matching the description of GORDON, repeatedly throwing an object at the North
Door of the U.S. Capitol. Police officers can be seen standing on the other side of the glass window
in the door. The fog of tear gas can be seen surrounding the North Door. A Youtube video entitled
“interviewing January 6th Rioters on the Capitol Steps” showed that GORDON and others were
attempting to destroy the North Door to gain access to the U.S. Capitol on January 6, 2021. A man
matching GORDON’s description was shown repeatedly throwing an object at the North Door at
the 8:30 mark through the 8:55 mark. Shortly before the 8:30 mark, other individuals were shown
ramming the North Door with a bicycle rack. Exhibits 3 and 4, below, are screenshots from this
video. Based on the similarity in appearance of the individual in the FBI Most Wanted AFO-218
photograph, and other corroborating information from this investigation, I believe the individual
pictured in Exhibit 4, below, to be GORDON.
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                                            Exhibit 3




                                            Exhibit 4




        Another Youtube video titled “Save America Protesters Attempt Entrance into Washington
DC Capitol” showed a different angle of the same events. A man matching GORDON’s
description could be seen, beginning at the 4:50 mark, taking a hard object from his jacket and
repeatedly throwing it at the North Door until the 9:18 mark. During this time, GORDON could
be seen in the video repeatedly kicking the doors in effort to destroy it to gain entry and yelling
obscenities at the officers on the other side the North Door (inside the Capitol building) while the
officers responded by pepper spraying GORDON and others. Exhibits 5 and 6, below, are
screenshots from this video. Based on the similarity in appearance of the individual in the FBI
Most Wanted AFO-218 photograph, and other corroborating information from this investigation,
I believe the individual pictured in Exhibits 5 and 6, below, to be GORDON.
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                                             Exhibit 5




                                             Exhibit 6




        Your affiant submits there is probable cause to believe that JOHN THOMAS GORDON
violated 18 U.S.C. §§ 1361 and 2, by willfully injuring or depredating of any property of the United
States. The estimated costs to repair the damage to the North Door is more than $1,000.

        Your affiant further submits that there is probable cause to believe that JOHN THOMAS
GORDON violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
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of Government business or official functions; and (4) knowingly engages in any act of physical
violence against any person or property in any restricted building or grounds;] or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance. The statute further criminalizes attempts to violate these
Sections.

        Your affiant submits there is also probable cause to believe that JOHN THOMAS
GORDON violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

         Your affiant submits there is also probable cause to believe that JOHN THOMAS
GORDON violated 40 U.S.C. § 5104(e)(2)(D) & (F), which makes it a crime to willfully and
knowingly: (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (F) engage in an act of physical violence in the Grounds
or any of the Capitol Buildings. An act of physical violence includes damage to, or the destruction
of, real or personal property.




                                                      _________________________________
                                                      MARK MCNEAL
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 1st day of July 2022.

                                                      G. Michael Harvey Digitally signed by G. Michael Harvey
                                                                        Date: 2022.07.01 11:10:51 -04'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE
